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 JP013551                                      September 19, 2019


 The Honorable Pamela Meade Sargent
 Magistrate Judge
 Western District of Virginia
 180 West Main Street
 Suite 123
 Abingdon, VA 24210

                    Re:      United States v. Indivior Inc. et al., Case No. 1:19-cr-0016 (JPJ)(PMS)

 Dear Judge Sargent:

         We represent defendants Indivior Inc. and Indivior PLC in the above-caption matter. We
 write to inform the Court that we do not oppose the government’s Motion for Leave to File Sur-
 reply Regarding Indivior’s Motion to Dismiss the Indictment (ECF #152).

                                                             Respectfully submitted,


                                                             /s/ James R. Wooley

 Cc:      All Counsel of Record (via ECF)




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